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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 WAEL MUHAMMAD BAZZI,

                    Plaintiff,

          v.                                          Civil Action No. 19-cv-01940 (TNM)

 ANDREA M. GACKI, in her official
 capacity as Director of the U.S. Department
 of the Treasury, Office of Foreign Assets
 Control, and UNITED STATES
 DEPARTMENT OF THE TREASURY,
 OFFICE OF FOREIGN ASSETS
 CONTROL,

                    Defendants.


                         REPLY TO PLAINTIFF’S RESPONSE TO
                        NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants notified this Court of the memorandum opinion from Rakhimov v. Gacki, No.

19-2554 (JEB), 2020 WL 1911561 (April 20, 2020), which bears on issues in this case but issued

after briefing on the parties’ dispositive cross-motions concluded. Plaintiff responded to that

notice in part by claiming that the notice he received runs afoul of the “fundamental tenant of

administrative law” articulated in Tourus Records v. DEA, 259 F.3d 731 (D.C. Cir. 2001). See

Pl.’s Resp. at 3-4, ECF No. 25.

       But neither party cited the nearly twenty-year old precedent of Tourus previously, and the

case has nothing to do with Rakhimov or this action. Tourus addressed the “fundamental

requirement . . . codified in section 6(d) of the APA, 5 U.S.C. § 555(e),” which requires an agency

to provide a “brief statement of the grounds for den[ying]” “a written application, petition, or other

request of an interested person made in connection with an agency proceeding.” 259 F.3d at 737.

Rakimhov did not involve or address such a denial, see 2020 WL 1911561, at *7, and Plaintiff has
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similarly acknowledged here that “§ 555(e) of the APA is not implicated.” Pl.’s Mem. Points &

Auths. at 22, ECF No. 13-1.

       In any event, as Defendants previously explained, Plaintiff has received whatever notice is

due under the APA, and the administrative record provides numerous facts that logically support

his designation for acting for or on behalf of his designated father. See, e.g.,, Defs.’ Stmt of Points

& Auths. at 14, ECF No. 12-1 (providing examples, including forming a petroleum company to

maintain father’s access to oil industry). Bazzi’s failure to rebut such facts does not mean he lacks

notice of them.



        Dated May 22, 2020                             Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       DIANE KELLEHER
                                                       Assistant Branch Director

                                                       /s/ Kevin Snell
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